                                                                                                                  Case 2:23-cv-11634-NGE-APP ECF No. 14-1, PageID.79 Filed 08/01/23 Page 1 of 3


                                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                                                      EASTERN DISTRICT OF MICHIGAN
                                                                                                                                           SOUTHERN DIVISION


                                                                                                                  JULIA ZIMMERMAN,
The Health Law Partners, P.C. - 32000 Northwestern Hwy., Ste. 240 – Farmington Hills, MI 48334 - (248) 996-8510




                                                                                                                               Plaintiff,                  Case No. 2:23-cv-11634-NGE-APP

                                                                                                                  vs.                                       Judge: Hon. Nancy G. Edmunds
                                                                                                                                                            Magistrate Judge:
                                                                                                                  ELIZABETH A. PENSLER, D.O., PLLC          Hon. Anthony P. Patti
                                                                                                                  (d/b/a “Pensler Vein and Vascular”,
                                                                                                                  “Pensler Vein and Vascular Surgical
                                                                                                                  Institute”, and “Elizabeth Face +
                                                                                                                  Body Med Spa”) et al.

                                                                                                                                 Defendants.
                                                                                                                  __________________________________________________________________/
                                                                                                                  DEBORAH GORDON LAW                     THE HEALTH LAW
                                                                                                                  Deborah L. Gordon (P27058)             PARTNERS, P.C.
                                                                                                                  Elizabeth Marzotto Taylor (P82061)     Clinton Mikel (P73496)
                                                                                                                  Sarah Gordon Thomas (P83935)           Attorneys for the Defendants
                                                                                                                  Molly Savage (P84472)                  Elizabeth A. Pensler, D.O., PLLC
                                                                                                                  Attorneys for the Plaintiff            (d/b/a “Pensler Vein and Vascular
                                                                                                                  Julia Zimmerman                        “Pensler Vein and Vascular Surgical
                                                                                                                  33 Bloomfield Hills Parkway, Suite 220  Institute”, and “Elizabeth Face +
                                                                                                                  Bloomfield Hills, Michigan 48304       Body Med Spa”); Elizabeth Med
                                                                                                                  Tel: (248) 258-2500                    Spa, PLLC Derek L. Hill, D.O.,
                                                                                                                  dgordon@deborahgordonlaw.com           PLLC; (d/b/a “Hill Orthopedics”),
                                                                                                                  emarzottotaylor@deborahgordonlaw.com Elizabeth Pensler, D.O. and
                                                                                                                  sthomas@deborahgordonlaw.com           Derek Hill, D.O.
                                                                                                                  msavage@deborahgordonlaw.com           3200 Northwestern, #240
                                                                                                                                                         Farmington Hill, MI 48334
                                                                                                                                                         Tel: (248) 996-8510
                                                                                                                                                         cmikel@thehlp.com
                                                                                                                  ________________________________________________________________/
                                                                                                                                             INDEX OF EXHIBITS
                                                                                                            Case 2:23-cv-11634-NGE-APP ECF No. 14-1, PageID.80 Filed 08/01/23 Page 2 of 3


                                                                                                            Below is an index of exhibits for Defendants’ motion for an extension of time
                                                                                                            to plead, move or otherwise respond to Plaintiff’s First Amended Complaint.

                                                                                                            EXHIBIT A -       Email Defense Counsel to Plaintiff’s Counsel, Tuesday, July
                                                                                                                              25, 2023 3:02 PM

                                                                                                            EXHIBIT B -       Email Plaintiff’s Counsel to Defense Counsel, Tuesday, July
                                                                                                                              25, 2023 3:17 PM
The Health Law Partners, P.C. - 32000 Northwestern Hwy., Ste. 240 - Southfield, MI 48334 - (248) 996-8510




                                                                                                            EXHIBIT C -       Email Defense Counsel to Plaintiff’s Counsel, Wednesday, July
                                                                                                                              26, 2023 4:50 PM

                                                                                                            EXHIBIT D -       Email Plaintiff’s Counsel to Defense Counsel, Thursday, July
                                                                                                                              27, 2023 2:05 PM

                                                                                                            EXHIBIT E -       Email Defense Counsel to Plaintiff’s Counsel, Thursday, July
                                                                                                                              27, 2023 3:26 PM and Email Plaintiff’s Counsel to Defense
                                                                                                                              Counsel Thursday, July 27, 2023 4:08 PM

                                                                                                            EXHIBIT F -       Email Defense Counsel to Plaintiff’s Counsel, Monday, July
                                                                                                                              31, 2023 2:23 PM

                                                                                                            EXHIBIT G -       Email Plaintiff’s Counsel to Defense Counsel, Monday, July
                                                                                                                              31, 2023 2:31 PM

                                                                                                            EXHIBIT H -       Email Defense Counsel to Plaintiff’s Counsel, Monday, July
                                                                                                                              31, 2023 2:57 PM

                                                                                                            Dated: August 1, 2023,              Respectfully submitted,
                                                                                                                                                THE HEALTH LAW PARTNERS, P.C.

                                                                                                                                                /s/ Clinton Mikel
                                                                                                                                                Clinton Mikel (P73496)
                                                                                                                                                Attorney for Defendants
                                                                                                                                                Elizabeth A. Pensler, D.O., PLLC (d/b/a
                                                                                                                                                Pensler Vein and Vascular, Pensler Vein and
                                                                                                                                                Vascular Surgical Institute, and Elizabeth
                                                                                                                                                Face + Body Med Spa, Elizabeth Med Spa,
                                                                                                                                                PLLC, Derek L. Hill, D.O., PLLC d/b/a Hill
                                                                                                                                                Orthopedics, Elizabeth Pensler, D.O. and
                                                                                                                                                Derek Hill, D.O.
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                                                                                                            Case 2:23-cv-11634-NGE-APP ECF No. 14-1, PageID.81 Filed 08/01/23 Page 3 of 3


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                                                                                                                                        CERTIFICATE OF SERVICE

                                                                                                                   I certify that on August 1, 2023, I electronically filed the foregoing with the

                                                                                                            Clerk of the Court by using the CM/ECF system which will send email notification of

                                                                                                            electronic filing to counsel for all parties of record.

                                                                                                                                                             s/Clinton Mikel
                                                                                                                                                             Clinton Mikel
                                                                                                                                                             The Health Law Partners, P.C.
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